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           IN THE UNITED STATES DISTRICT COURT FOR THE

                           DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,     )
                              )
                Plaintiff,    )                  8:03CR290
                              )
          v.                  )
                              )
STERLING MCKOY,               )             MEMORANDUM OPINION
                              )
                Defendant.    )
______________________________)


            This matter is before the Court on the following

motions of the defendant:

                 1) Motion for new trial (Ground #3)
                 (Filing No. 330);

                 2) Motion for leave to amend motion
                 for new trial (Ground #1) (Filing
                 No. 331);

                 3) Motion to vacate, set aside, or
                 correct sentence by person in
                 federal custody under 28 U.S.C. §
                 2255 (Filing No. 334);

                 4) Motion for leave to amend motion
                 for new trial (Ground #1) (Filing
                 No. 335);

                 5) Amended motion for appointment
                 of counsel (Filing No. 337);

                 6) Motion for leave to proceed in
                 forma pauperis (Filing No. 338);

                 7) Motion for new trial (Ground #1)
                 (Filing No. 343);

                 8) Motion for new trial Ground #2)
                 (Filing No. 344);
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                 9) Motion for leave to amend motion
                 for new trial (Ground #3) (Filing
                 No. 345);

                 10) Motion to vacate, correct or
                 set aside sentence (Filing No.
                 346).

            Having reviewed the motions, defendant’s submissions,

and the applicable law, the Court finds that defendant’s motions

to amend (Filing Nos. 331, 335 and 345) should be granted.

Defendant’s motions for new trial (Filing Nos. 330, 343 and 344

as amended), defendant’s motions to vacate, correct or set aside

sentence (Filing Nos. 334 and 346), and motion for appointment of

counsel (Filing No. 337) and defendant’s motion to proceed in

forma pauperis (Filing No. 338) should all be denied.

                                    FACTS

            On June 2, 2004, a jury found the defendant, Sterling

McKoy, guilty of conspiracy to distribute 50 or more grams of

cocaine base.    The Court sentenced McKoy to 360 months

imprisonment, 5 years of supervised release and a special

assessment in the amount of $100.00.          McKoy appealed his sentence

and conviction to the Eighth Circuit Court of Appeals, and

following the decision in United States v. Booker, 543 U.S. 220

(2005), the parties filed a joint motion to remand for

sentencing.    The Court re-sentenced McKoy to 300 months

imprisonment.    On December 13, 2005, the Eighth Circuit affirmed




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his conviction and sentence, and on December 29, 2005, denied his

motion for rehearing.

            McKoy moves for a new trial pursuant to Fed. R. Crim.

P. 33(b)(1) based on allegedly newly discovered evidence, seeking

an evidentiary hearing to examine the evidence and/or a new

trial.    McKoy claims that since his trial, he has become aware

that three witnesses -- Birdine, Henderson and Officer Gassaway

-- provided perjured testimony that was the result of

prosecutorial misconduct in that the government knew or should

have known that the testimony was perjured.               In addition, McKoy

directs the Court to affidavits from Ms. Frankie Shaw and Ms.

Tristan Bonn which discuss a petition which was circulated in

July or August 2004 alleging that Officer Jeffrey Gassaway was

unethical and corrupt and seeking an investigation of Officer

Gassaway (Ex. B & C to Filing No. 343).               These affidavits were

signed in March and April 2007.         McKoy also directs the Court to

several published court cases involving Officer Gassaway where

evidence was suppressed, asserting that these cases signify a

pattern of misconduct by Officer Gassaway that would lead a jury

to question any case, such as McKoy’s, in which Officer Gassaway

was involved.1



      1
        At least one case involved Officer George Collins as well
as Officer Gassaway, both of whom were involved in the stop and
arrest of McKoy. See United States v. Damper, 347 F. Supp.2d 689
(D. Neb. 2004).

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            As to his motions to vacate under § 2255, McKoy asserts

that counsel was ineffective in several ways, most notably in the

failure to call witnesses sought by McKoy, the failure to

effectively cross examine some witnesses and the failure to

object to the prosecution “vouching” for Kevin Birdine.

                                DISCUSSION

A.    New Trial

            “Five pre-requisites must be met in order to justify a

new trial based upon newly discovered evidence: ‘(1) the evidence

must in fact be newly discovered, that is, discovered since the

trial; (2) facts must be alleged from which the court may infer

diligence on the part of the movant; (3) the evidence relied upon

must not be merely cumulative or impeaching; (4) it must be

material to the issues involved; and (5) it must be of such

nature that, on a new trial, the newly discovered evidence would

probably produce an acquittal.’”           United States v. Womack, 191

F.3d 879, 886 (8th Cir. 1999) (citing United States v. Luna, 94

F.3d 1156, 1161 (8th Cir. 1996)).          Furthermore, “[m]otions for a

new trial based on newly discovered evidence are disfavored.”

United States v. Dogskin, 265 F.3d 682, 685 (8th Cir. 2001).

      Birdine

            McKoy asserts that Birdine committed perjury in his

testimony in McKoy’s trial based on discrepancies between

Birdine’s trial testimony and his earlier proffer statements as


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well as discrepancies between his trial testimony in this case

and his subsequent testimony in the trial of Rommell Smith.

            The proffer statements are not newly discovered

evidence, and they are not grounds for a new trial.               Further,

Birdine has denied committing perjury in his own affidavit,

obtained on February 5, 2007 (Filing No. 321, Ex. 1).                While

Birdine’s testimony in the Smith case was not a carbon copy of

his testimony against McKoy, the differences do not support a

suggestion of perjury.

      Henderson

            McKoy asserts that Henderson also committed perjury in

his testimony in McKoy’s trial based on discrepancies between his

trial testimony and his earlier proffer statements as well as

discrepancies between his trial testimony in this case and his

subsequent testimony in the trial of Rommell Smith.

            The proffer statements are not newly discovered

evidence, and they are not grounds for a new trial.               Further,

while Herderson’s testimony in the Smith case was not a carbon

copy of his testimony against McKoy, the differences do not

support a suggestion of perjury.

      Officer Gassaway

            McKoy asserts that Officer Gassaway committed perjury

when he testified to his opinion that he had not known proffering

witnesses to “have lied on other people.”             McKoy has failed to


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establish that anyone has lied in a proffer statement.                  Further,

even if he had established that a specific person had lied in

their proffer, this does not make Officer Gassaway’s contrary

opinion perjurious.      Finally, McKoy produces no “new evidence” to

support his assertion as to Officer Gassaway.               Thus, this claim

fails to provide sufficient grounds upon which to grant a new

trial.

      Shaw and Bonn Affidavits

            McKoy next presents the affidavits of Shaw and Bonn,

asserting that these constitute new evidence justifying his

request for a new trial.       While these affidavits are new, as they

were signed in March and April 2007, they refer to the

circulation of a petition in July and August 2004 which is not

newly discovered evidence.          Further, even if the petition did

constitute newly discovered evidence, the petition does not

evidence any bad acts of Officer Gassaway, but merely purports to

be a request for an investigation of Officer Gassaway by some

members of the North Omaha community.            A request for an

investigation is not evidence of anything that would provide

grounds for the granting of a new trial.               The Shaw and Bonn

affidavits fail to provide sufficient grounds upon which to

justify the granting of McKoy’s motion for new trial.

            “Absent exceptional circumstances, a motion for new

trial based on newly discovered evidence may be decided on


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affidavits without a hearing.”        Dogskin, 265 F.3d at 687.           With

respect to Birdine’s and Henderson’s testimony, they were only

two of seven cooperating witnesses who testified.              The testimony

of these cooperating witnesses was quite consistent and

overwhelmingly supports the jury’s finding of guilt.               The Court

finds no exceptional circumstances in this case.              Accordingly,

the Court will deny defendant’s motions for a new trial (Filing

Nos. 330, 343, 344, 345) pursuant to Fed. R. Crim. P. 33.

B.    Ineffective Assistance of Counsel

            McKoy asserts that counsel was ineffective in several

ways, most notably the failure to call witnesses sought by McKoy

both at trial and at the pre-trial suppression hearing and in

failing to request that the Court reconsider its ruling in regard

to the motion to suppress during trial; the failure to

effectively cross examine and properly impeach the testimony of

Kevin Birdine; the failure to object to the prosecution’s

“vouching” for Kevin Birdine; failure to challenge jury

Instruction No. 12 as overbroad; failure to challenge drug

quantity calculations at sentencing; failure to investigate

Officer Gassaway and asserted prior bad acts by Officer Gassaway,

including threats made by Officer Gassaway to potential

witnesses; failure to object to questions from the jury and the

judge at trial.




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      1.    Standard for Ineffective Assistance of Counsel Claims.

            The United States Supreme Court has long recognized

the Sixth Amendment right to counsel is necessary to protect the

fundamental right to a fair trial.          Strickland v. Washington, 466

U.S. 668, 684 (1984).      This right to counsel is “the right to

effective assistance of counsel.”          Strickland, 466 U.S. at 686

(quoting McMann v. Richardson, 397 U.S. 759, 771, n. 14 (1970)).

An ineffective assistance of counsel claim has two components:

(1) the defendant must show that counsel’s performance was

deficient; and (2) the defendant must show that the deficient

performance prejudiced the defense.          Id. at 687.      Although in

some situations prejudice is presumed, the defendant has not

articulated any of those instances in his motion or brief.                 See

id. at 692 (discussing generally the contexts in which prejudice

is presumed).    Therefore, the defendant must satisfy not only the

“deficient performance” component of the Strickland test, but he

must also make a showing of how any such deficiencies prejudiced

his defense.

            In evaluating the first element of the Strickland test,

the Court must judge the reasonableness of counsel’s challenged

conduct on the facts of the particular case.             Once the defendant

has identified specific acts or omissions that constitute the

alleged ineffective assistance of counsel, the Court must

determine whether such acts or omissions were outside the “wide


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range of professionally competent assistance.”              Id. at 689.

Generally, there is a strong presumption that counsel rendered

adequate assistance.       Id.

            To demonstrate prejudice, the second component of the

Strickland test, the defendant is required to prove that

“counsel’s errors were so serious as to deprive [him] of a fair

trial, a trial whose result is reliable.”             Id. at 687.     The

Supreme Court has stated that “[i]t is not enough for the

defendant to show that the errors had some conceivable effect on

the outcome of the proceeding.”         Id. at 693.      Rather, the

defendant must show that “there is a reasonable probability that,

but for counsel’s unprofessional errors, the result of the

proceeding would have been different.           A reasonable probability

is a probability sufficient to undermine confidence in the

outcome.”    Id. at 694.    The Court must ask whether a reasonable

probability exists that, absent the errors alleged by the

defendant, the factfinder would have had a reasonable doubt

regarding the defendant’s guilt, based upon the totality of the

evidence before the jury.        Id. at 695.

      2.    Failure to Call Witnesses Sought By McKoy

            McKoy asserts that his counsel’s assistance was

ineffective in failing to call witnesses at the evidence

suppression hearing and failing to call his sister as a witness

at trial.    “The decision not to call a witness is a ‘virtually


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 unchallengeable’ decision of trial strategy . . . .”                 United

 States v. Staples, 410 F.3d 484, 488 (8th Cir. 2005).                 “[A] court

 must indulge a strong presumption that counsel's conduct falls

 within the wide range of reasonable professional assistance; that

 is, the defendant must overcome the presumption that, under the

 circumstances, the challenged action might be considered sound

 trial strategy.”       Strickland, 466 U.S. at 689 (internal quotation

 omitted).

             Sylvanna McKoy

             McKoy asserts that counsel was ineffective in failing

 to call his sister Sylvanna as a witness at trial.                McKoy asserts

 that she would have testified to impeach Birdine by explaining

 that she and Birdine had been involved in a relationship which

 gave Birdine a reason to want to lie about McKoy’s involvement in

 the drug conspiracy.

             The failure to call Sylvanna is not sufficient evidence

 of ineffective assistance by counsel for two reasons.                 First, her

 testimony would have only served to impeach the credibility of

 Birdine and would have been cumulative.               Second, as McKoy’s

 sister, her testimony was subject to an argument that it was

 shaped by familial loyalty.         See Staples, 410 F.3d at 489

 (finding that counsel’s decision not to call the defendant’s

 uncle to testify where the uncle would have been subject to




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 attack based upon familial loyalty was not ineffective

 assistance).

            Mr. Philmon

            McKoy also asserts that counsel was ineffective in not

 calling Mr. Philmon, who testified at trial, to testify at the

 suppression hearing.     McKoy asserts that Philmon would have

 testified at the hearing just as he testified at trial,

 contradicting statements by the arresting officers as to the

 number of people who had been in the gas station at the time of

 McKoy’s arrest.    The Court finds that the failure to call Philmon

 as a witness at the suppression hearing does not constitute

 ineffective assistance because his testimony would not have

 provided sufficient additional facts to undermine the officer’s

 decision to link McKoy to the Intrepid in which the crack was

 found and to alleviate the officer’s suspicions that were based

 on the facts that McKoy was driving the Intrepid.              He was

 standing between the Intrepid that was unoccupied, its engine was

 running and had a loud radio playing, and the Mustang was

 occupied by two persons in the front seats and the back seat was

 filled with clothes that were in an undisturbed condition.

 Officer Gassaway reasonably concluded that McKoy’s assertion that

 he had been riding in the Mustang was not true.             Philmon was not

 in the parking lot and was not associated with either car.                 He

 did not testify that McKoy had been a passenger in the Mustang.


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 His testimony would not have contradicted the officer’s testimony

 as to the primary elements upon which probable cause rested.

 Counsel’s failure to call him to testify at the suppression

 hearing did not meet the high bar necessary to overcome the

 strong presumption that counsel's conduct falls within the wide

 range of reasonable professional assistance.

            Further, defendant raised on appeal his claim that this

 was an illegal search.      The Court of Appeals carefully reviewed

 his claim and the evidence and found the claim to have no merit.

 Whether counsel specifically raised this issue at trial is of no

 consequence in view of the decision of the Court of Appeals.

 As the issues related to the suppression hearing were

 unsuccessfully raised at the suppression hearing and on appeal,

 the Court finds that defendant’s claim of ineffective assistance

 of counsel in not renewing his motion to suppress the challenged

 evidence during trial is without merit and should be denied.

       3.   Failure to Effectively Cross Examine and Properly
            Impeach Kevin Birdine

            McKoy next asserts that counsel failed to effectively

 cross examine Kevin Birdine.       McKoy’s counsel impeached Birdine

 with his plea agreement, proffers and felony convictions.                Any

 impeachment with additional prior inconsistent statements would

 have been cumulative.      United States v. Watkins, 486 F.3d 458,

 466 (8th Cir. 2007)(citing Hall v. Luebbers, 296 F.3d 685, 694

 (8th Cir. 2002)).

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            McKoy asserts that beyond just pointing out differences

 between the proffers and the trial testimony, his counsel should

 have gone further and asked why the testimony was different.                 As

 the Eighth Circuit stated in Willis v. United States, 87 F.3d

 1004, 1006 (8th Cir. 1996), “[I]t is very difficult to show the

 trial outcome would have been different had specific questions

 been asked on cross examination, particularly where other trial

 testimony repeatedly corroborated the testimony of these two

 witnesses.    In hindsight, there are few, if any, cross-

 examinations that could not be improved upon.             If that were the

 standard of constitutional effectiveness, few would be the

 counsel whose performance would pass muster."             McKoy has failed

 to show prejudice arising from counsel's cross-examination of

 Birdine.

       4.   Failure to Object to the Prosecution “Vouching” for
            Kevin Birdine.

            Next, McKoy alleges that statements made and testimony

 elicited by the government constituted improper bolstering of or

 vouching for Birdine's credibility.           Improper vouching may occur

 when the government: (1) refers to facts outside the record or

 implies that the veracity of a witness is supported by outside

 facts that are unavailable to the jury; (2) implies a guarantee

 of truthfulness; or (3) expresses a personal opinion about the

 credibility of a witness.      See United States v. Beasley, 102 F.3d



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 1440, 1449 (8th Cir. 1996), cert. denied, 137 L. Ed. 2d 1058, 117

 S. Ct. 1856 (1997).

            McKoy points to one instance of improper vouching where

 the government, in closing arguments, asked the jury to compare

 Birdine’s proffer statements with his trial testimony and that

 the jury would find that they essentially correspond.               McKoy

 asserts that this was improper vouching because Birdine’s October

 3, 2003, proffer statement was not admitted into evidence and

 could not be reviewed by the jury.         With respect to the

 government's closing remarks, the prosecutor did not express a

 personal opinion regarding Birdine's credibility, did not make

 any guarantees of truthfulness, and did not imply that she knew

 something that the jury did not.         See Beasley, 102 F.3d at 1449.

 The Court concludes that there was no impermissible vouching in

 this case.

       5.   Failing to Object to Jury Instruction No. 12

            McKoy next asserts that his counsel was ineffective in

 failing to object to Jury Instruction No. 12.             Specifically, he

 asserts that the jury should have been required to find the exact

 amount of drugs attributable to him.          In actuality, the jury was

 required to make an exact finding as the verdict form

 specifically required the jury to find, “beyond a reasonable

 doubt that the defendant was responsible for and the conspiracy,

 as it pertained to the defendant involved less than 5 grams [of


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 crack cocaine] . . . at least 5 but less than 50 grams [of crack

 cocaine or] 50 grams or more [of crack cocaine].”              The verdict

 form required the jury to find the quantities necessary to place

 him within the sentencing ranges detailed within the advisory

 sentencing guidelines.      The jury made these quantity findings,

 and McKoy’s counsel was not ineffective in failing to object to

 Instruction No. 12.

       6.   Failure to Object to Judicial Findings of Drug
            Quantities

            McKoy next asserts that his counsel was ineffective in

 failing to challenge the judicial finding wherein this Court

 found McKoy was responsible for 1.5 kilograms of crack cocaine

 after the pre-sentence investigation report (“PSI”) had

 determined that McKoy should be held responsible for 100.06

 kilograms of crack cocaine.        McKoy asserts that where the amount

 the Court held him responsible was just 1.5 percent of the amount

 recommended in the PSI, the finding of 1.5 kilograms lacks any

 basis, thereby rendering the finding unconstitutional and thereby

 rendering counsel’s assistance ineffective.

            A district court may estimate drug quantities so long

 as the estimate is supported by a preponderance of the evidence.

 United States v. Judon, 472 F.3d 575, 584 (8th Cir. 2006).                 In

 this case, the Court heard all of the evidence presented at trial

 and found that there was no question that McKoy was responsible

 for 1.5 kilograms of crack cocaine.          See United States v. Smith,

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 429 F.3d 1179, 1181 (8th Cir. 2005)(finding “no clear error in

 the district court's reliance on trial testimony and its

 credibility findings in the determination of drug quantity”).

 The Court’s finding was not clearly erroneous, and McKoy’s

 counsel was not ineffective in failing to challenge the Court’s

 finding that McKoy was responsible for 1.5 kilograms of crack

 cocaine.

       7.   Failure to Investigate and Adequately Cross Examine
            Officer Gassaway

            McKoy next asserts that his counsel erred in failing to

 adequately investigate allegations of questionable activities by

 Officer Gassaway and to adequately cross examine Gassaway.

 Specifically, McKoy directs the Court to United States v. Damper,

 347 F. Supp.2d 689 (Dec. 6, 2004)(J. Bataillon) and United States

 v. Hatcher, 275 F.3d 689 (8th Cir. 2001) as published cases from

 this district involving Officer Gassaway in which evidence was

 suppressed.

            McKoy’s trial began on May 24, 2004, more than six

 months before the decision in Damper was filed by the Court.                 His

 counsel could not be expected to know of this decision that had

 not yet been published.      Further, it is not readily apparent that

 Officer Gassaway’s actions as reported in Hatcher are relevant as

 to McKoy, and it would not be admissible.            Finally, counsel did

 cross examine Officer Gassaway and attempted to impeach his

 testimony with reference to written reports that he had prepared

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 earlier.   The Court finds that the cross examination of Officer

 Gassaway by McKoy’s counsel does not represent ineffective

 assistance.

       8.   Failure to Object to Questions from Judge & Jury

            During trial, the Court allowed jurors to submit

 questions in writing to the bench.         These questions were then

 reviewed at sidebar with the attorneys who had an opportunity to

 object to any questions submitted.         The Court also directed

 questions to some witnesses.       After questions from either the

 judge or the jury, the Court allowed both party’s counsel an

 opportunity to further develop any subject raised by these

 questions.    McKoy asserts that his counsel was ineffective in

 failing to object to these questions.

            The Eighth Circuit Court of Appeals has found that

 permitting jurors to question witnesses is not itself plainly

 erroneous and has “expressed no opinion on the appearance and

 propriety of juror questioning in general.”            United States v.

 Johnson, 892 F.2d 707, 710 (8th Cir. 1989).            Since the Eighth

 Circuit has expressed no opinion, the Court finds that counsel

 was not ineffective in not generally objecting to this Court’s

 custom of allowing jurors to submit written questions for

 witnesses and of the Court also asking questions of witnesses.

            This Court was the trier of facts and although the

 hearing on the motion to suppress was heard before the Magistrate


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 Judge, the record is substantial as to what occurred.               On the

 basis of the record and the Court's presence during the trial of

 the case, it appeared that all counsel acted properly and

 thoroughly investigated the case and presented it to the Court.

 All proper motions were filed and heard.             The fact that the

 defendant did not testify at a motion hearing, on advice of

 counsel, if in fact that occurred, was a legal decision made by

 counsel which is not subject to attack here.             Counsel fully

 cross-examined all government witnesses and was fully informed as

 to the nature of defendant's position.

            The Court finds that McKoy has not shown that any of

 his counsel made errors so serious that counsel was not

 functioning as the counsel guaranteed by the Sixth Amendment.                 In

 addition, the defendant has not shown prejudice.              This Court does

 not believe that the errors of any counsel, if there were any,

 were so serious as to deprive defendant of a fair trial.

 Accordingly, defendant's requests for relief under § 2255 (Filing

 Nos. 334 and 346) will be denied.

            Having found that all of defendant’s motions (Filing

 Nos. 330, 331, 334, 335, 337, 338, 343, 344, 345 and 346) should




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 be denied, a separate order will be entered in accordance with

 this memorandum opinion.

            DATED this 8th day of August, 2007.

                              BY THE COURT:

                              /s/ Lyle E. Strom
                              _________________________________
                              LYLE E. STROM, Senior Judge
                              United States District Court




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